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         8                            UNITED STATES DISTRICT COURT
         9                           EASTERN DISTRICT OF CALIFORNIA
       10

       11    UNITED STATES OF AMERICA,        )            Case No. 2:12-CV-00477-GEB-DAD
                                              )
       12                      Plaintiff,     )
                                              )
       13         v.                          )
                                              )
       14    VACANT LAND LOCATED IN FOREST    )
             RANCH, CALIFORNIA, BUTTE COUNTY, )
       15    APN: 063-010-067-000, INCLUDING )
             ALL APPURTENANCES AND            )
       16    IMPROVEMENTS THERETO, ET AL.,    )
                                              )            RELATED CASE ORDER
       17                      Defendants.    )
             UNITED STATES OF AMERICA,        )
       18                                     )
                               Plaintiff,     )
       19                                     )            Case No. 2:12-CR-00185 JAM
                  v.                          )
       20                                     )
             ROBB CHEAL, RYAN CHEAL, ROBERT   )
       21    CARRILLO, and NADEEM KHAN,       )
                                              )
       22                      Defendants.    )
       23          Examination of the above-entitled actions reveals that these

       24    actions are related within the meaning of Local Rule 123 (E.D. Cal.

       25    2005).    Accordingly, the assignment of the matters to the same

       26    judge is likely to affect a substantial savings of judicial effort

       27    and is also likely to be convenient for the parties.

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         1          The parties should be aware that relating the cases under

         2   Local Rule 123 merely has the result that these actions are

         3   assigned to the same judge; no consolidation of the actions is

         4   effected.      Under the regular practice of this court, related cases

         5   are generally assigned to the judge to whom the first filed action

         6   was assigned.

         7          IT IS THEREFORE ORDERED that the action denominated 2:12-CV-

         8   00477-GEB-DAD be reassigned to Judge John A. Mendez for all further

         9   proceedings, and any dates currently set in this reassigned case

       10    only are hereby VACATED.          Henceforth, the caption on documents

       11    filed in the reassigned case shall be shown as 2:12-CV-00477-JAM-

       12    DAD.

       13           IT IS FURTHER ORDERED that the Clerk of the Court make

       14    appropriate adjustment in the assignment of civil cases to

       15    compensate for this reassignment.

       16           IT IS SO ORDERED.

       17    Dated:     May 30, 2012

       18                                                 /s/ John A. Mendez_____________

       19                                                 U. S. District Court Judge

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